                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF WISCONSIN

                    COMPLAINT AND DEMAND FOR JURY TRIAL


JOHN BELLOCCHIO; and                            )
FETCH & MORE, Inc.,                             )
                                                )
               Plaintiffs,                      )
                                                )
v.                                              )     Civil Case No.
                                                )     2:20-cv-1589
THE KENOSHA GUARD;                              )
KEVIN MATHEWSON, Commander of Kenosha Guard; )
RYAN BALCH, Member of Boogaloo Boys;            )
THE BOOGALOO BOIS;                              )
KYLE RITTENHOUSE;                               )
WOLVERINE WARRIORS;                             )
BRIAN HIGGINS;                                  )
THE PROUD BOYS;                                 )
GAVIN MCINNES, Founder of the Proud Boys;       )
CENSORED.TV, a U.S. corporation;                )
ENRIQUE TARRIO, Chairman of the Proud Boys;     )
ERIC DOE, Leader of Wisconsin Proud Boys Chap.; )
BRAD DOE, Deputy Commander of Wisconsin         )
Chapter of the Proud Boys; and                  )
AUGUSTUS SOL INVICTUS, Commander of the         )
Fraternal Order of Alt-Knights,                 )
                                                )
               Defendants.                      )
________________________________________________)


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          Case 2:20-cv-01589-PP Filed 10/19/20 Page 1 of 27 Document 1
                                      INTRODUCTION

    1. We all have a dream: life, liberty and the pursuit of happiness. This is what is promised to

us as citizens of the United States, and we all wish for the financial security and physical safety

that underpins it all.

    2. However, the alt-right and its domestic terrorist tactics are preventing business owners and

their employees from achieving their American Dream. The Alt-Right Conspiracy—consisting of

militia groups such as the Proud Boys, the Kenosha Guard, Wolverine Warriors, and the Boogaloo

Bois, who have (and continue to) violently conspire to achieve their goal of forcing America into

a fascist ethnostate—pose a grave threat not only to our way of life, but to our very democracy.

    3. These groups consist of members who have been charged with engaging in a domestic

terrorist plot to kidnap and execute the Governor of Michigan, in an attempt to foment civil war.

Others lured 17-year-old Kyle Rittenhouse to Kenosha with a Call to Arms, where he then shot

three protestors; some members praised this extreme act of violence, crowning him “King Kyle”

and creating photoshopped images in which superheroes bow to him.

    4. “Stand back and stand by,” the President of the United States has told these groups. And

these militia men are eager to comply. They post in their social media feeds that they look forward

to visiting even more violence upon leftist activists; they gather together and arm themselves,

patrolling the Midwest, searching for an excuse to use the guns to which they so desperately cling.

    5. Now Americans are, understandably, afraid. People of Color, members of the LGBTQ+

community, women—these constitutionally protected classes—cannot leave their homes for fear

of these armed men. They are prevented from exercising their rights to interstate travel, forced to

cancel appointments and travel arrangements. Small business owners who belong to these




          Case 2:20-cv-01589-PP Filed 10/19/20 Page 2 of 27 Document 1
vulnerable groups are particularly hard-hit, losing not only their freedom to travel, but the revenue

that comes along with it.

   6. And it is all due to the violent alt-right, who must be held responsible for their crimes. They

must pay for what has been lost: the lives taken and ruined, the lost property, the lost revenue—

the lost American Dream. It is time to stop the Alt-Right Conspiracy, before it tears apart every

scrap of the American way of life.

                                JURISDICTION AND VENUE

   7. The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331.

   8. The Court has jurisdiction over the Wisconsin State claims via supplemental jurisdiction

as set forth in 28 U.S.C. § 1367.

   9. Personal jurisdiction is proper over the parties who are Wisconsin residents, as well as

Defendant Rittenhouse, who travelled to Kenosha and is now facing criminal charges for his

actions there. The Defendants who are not Wisconsin residents personally availed themselves of

the resources in Wisconsin, therefore establishing the minimum contacts necessary to satisfy the

requirements of in personum jurisdiction.

   10.        Venue is proper in the Eastern District of Wisconsin pursuant to 28 U.S.C. §

1391(b) as, upon information and belief, many of the acts complained of took place in this district.

                                    NATURE OF THE ACTION

   11.        Since the election of Donald Trump, militia groups such as the Boogaloo Bois,

Wolverine Warriors, the Kenosha Guard, and the Proud Boys have coalesced and formed an

interconnected network of violent white men who wish to destroy the best parts of this country.

Their terrifying domestic terrorist tactics have created the Alt-Right Conspiracy, which has visited

extreme violence on the towns of Charlottesville and Kenosha, where several peaceful protestors




          Case 2:20-cv-01589-PP Filed 10/19/20 Page 3 of 27 Document 1
were slaughtered. Other members have been charged with the domestic terrorist plot that, had it

succeeded, would have resulted in the kidnapping and death of the Michigan Governor.

   12.         Their activity across the Midwest has crippled economic activity, and in this

particular case, their violent conspiracy has prevented Plaintiff from utilizing his constitutional

right to freely travel and conduct business across state lines. Mr. Bellocchio has suffered from

fear for his physical safety, particularly given he is part of the LGBTQ+ community, and thus has

been deprived of his rights as a Citizen of the United States.

   13.         Additionally, his company Fetch & More, which engages in the business of training

service dogs for the disabled, requires him to travel to his clients’ locations. However, the danger

posed by the Alt-Right Conspiracy’s presence throughout the Midwest prevents him from

traveling across state lines to do so. Moreover, many clients who belong to protected classes have

canceled out of fear that violence will be visited upon them by these militia members, and,

consequently, the business has suffered great economic loss.

   14.         Accordingly, Plaintiff Bellocchio brings claims pursuant to 42 U.S.C. §§ 1985(3)

and 1986, as this racially motivated conspiracy has resulted in damage to his property in the form

of a decreased business value and other economic loss, in addition to the physical and emotional

distress suffered by him personally. The actions of Defendants and co-conspirators also deprived

Mr. Bellocchio of his constitutionally protected right of interstate travel.

   15.         Plaintiffs further bring Wisconsin state law claims, which consist of civil

conspiracy, tortious interference with business contracts, and intentional and negligent infliction

of emotional distress. Plaintiffs pray for compensatory and punitive damages in addition to other

forms of relief.




          Case 2:20-cv-01589-PP Filed 10/19/20 Page 4 of 27 Document 1
                                            PARTIES

   Plaintiffs:

   16.           Plaintiff John Bellocchio is a professional academic with more than twenty years

of document research experience at the local, county, state, and federal level. Mr. Bellocchio holds

a B.Sc. in Diplomacy and International Politics from Seton Hall University with a specialization

in Middle East security, a Master of Philosophy in Mediation and Dispute Resolution from the

University of New Brunswick, Fredericton, Canada, and an Ed.S. in Leadership, Management,

and Public Policy from Seton Hall University. As a teacher, professor, and senior level

administrator in academic institutions, he was charged with document research in a number of

high-profile situations, in some cases going back more than 70 years to find an answer. A member

of the LGBTQ+ community, he is now the owner of Fetch & More.

   17.           Mr. Bellocchio is also a veteran of two decades of leadership in some of the most

difficult environments in both the public and private sector. He has spent a lifetime helping

sufferers of PTSD, anxiety, and depression find their voice, become their own advocate, and

through working with their dogs, free themselves from the chains that these issues often unfairly,

even cruelly, impose upon people.

   18.           Plaintiff Fetch & More, Inc., is a United States domestic corporation. It is

incorporated and has its principal place of business in New Jersey and engages in the business of

training service canines. Behaviorists travel the country to provide service dogs to veterans in

need and those who could not otherwise afford them. Patrons of this company are often veterans,

People of Color, and/or members of the LGBTQ+ community. Though Fetch & More does

business all over the United States, many customers are located in the Midwest, where, due to the

violent actions of the Alt-Right Conspiracy, the company has lost a great deal of business.




          Case 2:20-cv-01589-PP Filed 10/19/20 Page 5 of 27 Document 1
   Defendants:

   19.        Defendant Kenosha Guard is an unincorporated association pursuant to Wis. Stat.

chap. 193 and is the Wisconsin-based militia founded by Defendant Mathewson. The timing of

its formation tracks the killing of George Floyd in Minneapolis. The Kenosha Guard put out a

Call to Arms on August 24, 2020, which was welcomed with violent posts by its members and

supporters. It embraced, adopted, and publicized this vicious rhetoric, with its members

continuing to plan and organize to intimidate and violate the rights of Black Lives Matter

(“BLM”) protestors. In furtherance of this scheme, the Kenosha Guard engaged in military tactics

against peaceful protestors, including threats, harassment, assault, and more tragically, violence

and death.

   20.        A perfunctory review of Kenosha Guard members’ social media reveals an

organization steeped in white supremacist propaganda. The rise of Black Lives Matter, a racial

justice group embraced by civic organizations and respected corporations around the country,

seems to have triggered men like Defendant Mathewson to form heavily armed paramilitary

groups. The overwhelmingly straight, white, cisgender male members hold conspiratorial and

racist beliefs, and in an attempt to uphold this worldview, they take over the streets under the

facade of “protecting property” while violently harassing People of Color and their supporters.

   21.        Defendant Mathewson is the Commander of the Kenosha Guard. He operated the

Kenosha Guard Facebook page, set up the militia’s event, and issued the Call to Arms that was

publicized around the country. Despite being aware of the explicitly violent rhetoric and threats

on the Kenosha Guard’s Facebook and event page, he continued to recruit and organize armed

militia, stating to law enforcement officials that they had more than 3000 RSVPs. He planned,




         Case 2:20-cv-01589-PP Filed 10/19/20 Page 6 of 27 Document 1
    orchestrated, implemented, and took steps in furtherance of a conspiracy designed to threaten and

    terrorize U.S. Citizens, which ultimately resulted in murder and violence.

        22.       Defendant Ryan Balch is a Wisconsin resident, Nazi sympathizer, and avowed

    member of the Boogaloo Bois. Defendant Balch assumed a lead role in “Tactical Advisement” on

    the night of August 25th, taking command of the squad that included Defendant Rittenhouse.

    Based on his own representations, Defendant Balch was uniquely qualified to assume command

    and direction of this group. The Southern Poverty Law Center (“SPLC”) has noted that Defendant

    Balch is a Nazi sympathizer who, through his social media, has expressed admiration for Adolph

    Hitler and the Great Replacement Theory.1

        23.       Defendant Kyle Rittenhouse is an Illinois resident who traveled to Kenosha,

    Wisconsin on August 25th to take part in the Call to Arms. After joining a group of similarly

    armed men, he then proceeded to shoot three people.

        24.       Defendant Boogaloo Bois is an unincorporated association pursuant to Wis. Stat.

    chap. 193 and a right-wing militia. The name of the group was derived from the upcoming race

    war and civil unrest they hope to foment.2 Its members span the country, with local groups

    identifying themselves through various insignia that appears innocuous to the average civilian,

    yet, nonetheless, marks the wearer as belonging to the Boogaloo Bois. Outfits such as Hawaiian

    shirts combined with military-esque camouflage and other tactical gear identify the wearer to

    those “in the know,” particularly when they have the opportunity to gather in places like Trump

    rallies.




1
  This theory suggests that white people are being eradicated and systematically replaced by People of Color; hence
the right-wing chant heard from Charlottesville to Kenosha: “You Will Not Replace Us.”
2
  Southern Poverty Law Center Hatewatch on Boogaloo Bois:
https://www.splcenter.org/hatewatch/2020/06/05/boogaloo-started-racist-meme



               Case 2:20-cv-01589-PP Filed 10/19/20 Page 7 of 27 Document 1
   25.        The Hawaiian print also features heavily in their social media and is emblazoned

on emblems such as their flag. The groups have a strong presence on the internet and organize

through reddit, 4chan, Facebook, and other social media platforms. Its members pose with guns,

adopt military-style language and terms, and otherwise acts like the domestic terrorist group it is,

proudly displaying pictures with camouflage-clad men holding military assault rifles, with the

caption “TRAIN WITH YOUR LOCAL GOONS; THE COLLAPSE OF WESTERN

CIVILIZATION IS COMING”




   26.        Co-conspirators involved in the group act as if statements such as these are true,

with members glorifying the flames and violence of war. They desire chaos, to overthrow the

government, for might to make right where only white men rule, and they are willing to go to

extreme measures to realize these goals. Thus, the organization is also known as the Bojahideen,

as two members have been recently charged with providing material support to Hamas;

additionally, another member was allegedly involved in the recent shooting of Sheriff’s Officers

in Los Angeles, California.

   27.        Defendant Wolverine Watchmen is a group founded by Pete Musico and his son-

in-law, Joseph Morrison, who is known among the group as “Boogaloo Bunyon.” Members of

this group have been charged with conspiring in a domestic terrorist plot to kidnap and execute




          Case 2:20-cv-01589-PP Filed 10/19/20 Page 8 of 27 Document 1
the Governor of Michigan. Co-conspirators Musico, Morrison, and Adam Fox have been

photographed wearing the insignia of the Boogaloo Bois.

   28.        Defendant Brian Higgins is a Wisconsin resident who conspired with Adam Fox,

Joseph Morrison, and other co-conspirators in order to further the domestic terrorist plot to kidnap

and execute the Governor of Michigan.

   29.        Defendant Proud Boys is an unincorporated association pursuant to Wis. Stat. chap.

193 and self-describes as a group of “Western chauvinists.” Founded by Defendant Gavin

McInnes in 2016, with its popularity rising sharply following the election of Trump, its military

division is the Fraternal Order of Alt-Knights. The SPLC has labeled the Proud Boys a hate group

based in part on many members’ presence at the Unite the Right rally in Charlottesville, Virginia,

in addition to the racist, misogynistic, and violent rhetoric it espouses. Its presence has been

banned on many social media platforms.

   30.        Defendant Gavin McInnes is a Canadian-born, New York resident and founder of

the Proud Boys. An outspoken Islamophobe, he has contributed articles to various alt-right

websites the SPLC has designated as white supremacist hate organizations, such as VDare.com,

Taki’s Magazine, and American Renaissance; one such article was entitled “I’m Not a Racist,

Sexist, or a Homophobe, You N----r S--t F----t.” He also owns, contributes to, and operates

CENSORED.TV, a media organization focused on espousing “Western values.”

   31.        Defendant CENSORED.TV is, upon information and belief, a U.S. corporation

doing business out of the state of New York. It is a subscription-based media service that hosts

videos entitled “10 Things I Hate About the Goddamn Jews” and “White Noise,” in addition to

promoting content featuring Milo Yiannopoulos and other popular right-wing figures.




          Case 2:20-cv-01589-PP Filed 10/19/20 Page 9 of 27 Document 1
   32.        Defendant Enrique Tarrio is a Florida resident and the Chairman of the Proud Boys.

He is considered a fourth-degree member, having engaged in violence against an ANTIFA

demonstrator. In addition to his work organizing this group, he owns 1776 Shop, which he

describes as an “online emporium for far-right merch” that sells clothing with slogans such as

“War Boys” emblazoned on them. He was in attendance at the Unite the Right rally in

Charlottesville.

   33.        Defendants Eric Doe and Brad Doe are the Commander and Deputy Commander

of the Wisconsin Chapter of the Proud Boys, respectively, with last names as yet unknown. The

Wisconsin Chapter has supported the actions of Rittenhouse, calling him “King Kyle,” and in a

tweet stated: “Meets across the state are set for October! We’re going to have some fun discussing

our President’s upcoming orders.”

   34.        Defendant Augustus Sol Invictus is a Florida resident who is involved in the

American Guard as a “Sergeant at Arms,” as well as being second in command of the Fraternal

Order of Alt-Knights, the military offshoot of the Proud Boys. Having espoused public calls to

violence, in addition to engaging in publicity stunts such as killing a goat and drinking its blood,

he is also an ardent admirer of anti-Semitic writers such as the Nazi Carl Schmitt, who he stated

was “one of my primary legal, political, intellectual, and philosophical influences.” He is also

enthusiastic about the works of Nazi-sympathizer Francis Yockey, whose book Imperium was so

beloved that he named his law firm after it. He is currently facing charges for domestic violence

and various firearm violations.

                                             FACTS

   35.        There is a conspiracy afoot in the United States: the Alt-Right Conspiracy. A group

of men connected by the same core belief system—that white is right, that outdated gender roles




         Case 2:20-cv-01589-PP Filed 10/19/20 Page 10 of 27 Document 1
should be enforced, that violence should be visited on those who do not look like them or believe

what they believe—have found each other and organized into a deadly force of chaos.

   36.         Militia groups such as the Boogaloo Bois, the Kenosha Guard, Wolverine Warriors,

and the Proud Boys have conspired to violently suppress the constitutional rights of Citizens

across the United States. They have rained terror and death upon the cities of Charlottesville and

Kenosha, patrolled across the Midwest while armed and ready to shoot, and engaged in domestic

terrorist plots to kidnap elected officials and law enforcement officers.

   37.         This violence is rooted in racial animus—the anti-Semitism and hatred towards

Black Americans, in particular, is well documented—sentiments they couch in language such as

“Western Values” and “Make America Great Again.” This is, of course, in addition to the vitriolic

misogyny and hatred of anyone who is not a straight, white, cisgender man.

   38.         The understandable fear that this violence has wrought upon Midwest residents,

especially those who belong to vulnerable minority groups, has resulted in the deprivation of

constitutional rights. Their actions have also caused grave economic loss, as businesses bleed

revenue because of canceled contracts and their owners’ and employees’ reasonable fear of grave

bodily harm.

   39.         These militia groups, their origins, the Defendants and their co-conspirators, in

addition to their actions and the harm they have caused, are detailed in the following sections.

               The Kenosha Guard, Boogaloo Bois, and the Kenosha Shooting

   40.         In response to the protests of George Floyd’s death, Defendant Mathewson founded

the Kenosha Guard in June 2020, appointing himself Commander. He created a Facebook page

that described the group as “citizen volunteers that are ready to protect our great city,” and in an




         Case 2:20-cv-01589-PP Filed 10/19/20 Page 11 of 27 Document 1
    interview he referred to the group as a militia.3 This militia and its page did not garner much

    attention until it created the Call to Arms on August 24, 2020.

       41.         Several members of the Boogaloo Bois responded to the Kenosha Guard’s Call to

    Arms. This group began in the early 2010’s, primarily in online spaces. According to the SPLC,

    boogaloo “was frequently associated with racist violence and, in many cases, was an explicit call

    for race war. Today the term is regularly deployed by white nationalists and neo-Nazis who want

    to see society descend into chaos so that they can come to power and build a new fascist state.”4

    Several men wearing Hawaiian shirts and military fatigues—the uniform of the group—were seen

    carrying guns the night of August 25th.

       42.         The protests of the police shooting of Jacob Blake began on August 23rd, and the

    Kenosha Guard’s Call to Arms was issued the next day. Following its publication on the alt-right

    conspiracy website Infowars, it was given national attention, and the event page garnered over

    3000 likes. The violent comments such as “leave a pile of them and burn the bodies” and “shoot

    to kill” then began to flood the page. Defendant Mathewson himself referred to the protestors as

    “thugs,” which is a racist dog-whistle used to refer to Black Americans, as well as urged members

    to “lock and load.”

       43.         Now-deleted Reddit threads in the subreddit r/Kenosha further encouraged

    violence. One poster claimed they were traveling from Green Bay with “lots of guns. Lots of pipe

    bombs. Going to cleanse the streets of rioters.” Others directly targeted non-whites and

    “degenerates” of Kenosha, stating that if they refused to leave “anything that happens to you or

    your children will be your fault.” One commenter posted “Time to Purge,” a reply to which stated

    “You excited to have a harem of n***** and c***k little girls to abuse and f*** too? I am!”


3
    https://www.bbc.co.uk/sounds/play/m000lyzn
4
    https://www.splcenter.org/hatewatch/2020/06/05/boogaloo-started-racist-meme



             Case 2:20-cv-01589-PP Filed 10/19/20 Page 12 of 27 Document 1
   44.          On the evening of August 25th, various Boogaloo Bois joined the Kenosha Guard

to further the men’s violent conspiracy, including Defendant Balch. Upon arriving in Kenosha,

he went to Sheridan and 60th Street and found a group of armed men that included Defendant

Rittenhouse. He inserted himself into the group, claiming to be a “Tactical Advisor,” after which

they proceeded to point their assault rifles at protestors, threatening, insulting, and harassing them

with words such as “dyke” and “faggot,” as well as kenneling and corralling them into various

unsafe areas.

   45.          One of these cordoned-off sites was the Repair Shop parking lot, where Defendant

Rittenhouse murdered his first victim. After the man collapsed, Defendant Rittenhouse fled, with

protestors chasing after him and yelling for police to apprehend the shooter. Anthony Huber ran

after him, attempting to disarm the young man with his skateboard, and was then shot dead.

Defendant Rittenhouse also shot and severely wounded a third man before walking through a line

of police with his hands up, undeterred, having successfully obeyed the command of the co-

conspirator who advised the militia groups to “shoot to kill:”




         Case 2:20-cv-01589-PP Filed 10/19/20 Page 13 of 27 Document 1
        46.       Since the shooting, many Boogaloo Bois and co-conspirators praised Defendant

    Rittenhouse’s actions. Claiming he is a hero of the movement, one post referred to him as one of

    “the bois.” Various memes created by members of the Alt-Right Conspiracy venerate him, which

    greatly helps the popularity of the GoFundMe started for his defense attorney fees, which

    currently sits at over $100,000.

                     The Wolverine Warriors, Higgins, and More Boogaloo Bois

        47.       In the early summer of 2020, Pete Musico and his son-in-law, Joseph Morrison,

    created a group they dubbed the Wolverine Warriors. According to recorded conversations

    obtained by the SPLC, members discussed creating a society that followed the Bill of Rights, and,

    more notably, that the Governor of Michigan was violating the constitution and such tyrants

    should be murdered. Other members have a long history of supporting racist and misogynist

    rhetoric.5

        48.       Eight associates of this militia, including Defendant Brian Higgins, have been

    charged with conspiring in a domestic terrorist plot to kidnap and execute Governor Whitmer.

    According to a press release from the Office of Attorney General Dana Nessel, Defendant

    Higgins, a resident of Wisconsin Dells, has been charged with material support of an act of

    terrorism for his “alleged participation in a plan of domestic terrorism that included storming the

    Michigan Capitol building and harming government officials.”

        49.       Co-conspirators Musico, Morrison, and Fox have been photographed wearing the

    insignia of the Boogaloo Bois. Additionally, Morrison has been nicknamed “Boogaloo Bunyon”

    by other members of the terrorist group. Upon information and belief, the majority of Wolverine




5
  Target 8: Inside the Plot to Kidnap the Governor, News 8, Oct. 16, 2020, https://www.woodtv.com/news/target-
8/target-8-inside-the-plot-to-kidnap-the-governor/



              Case 2:20-cv-01589-PP Filed 10/19/20 Page 14 of 27 Document 1
    Warriors identified with the violently racist Boogaloo movement before the formation and

    furtherance of their domestic terrorist plot.

                                       The Proud Boys and Its Members

          “Who would you like me to condemn? Who? Proud Boys, stand back and stand by.”
                       ~ Donald Trump, 45th President of the United States

       50.          Founded by Gavin McInness in 2016, the popularity of the Proud Boys rose sharply

    following the election of Trump. With chapters in over 40 states, it is estimated to have over 5000

    members. It has a military division—the Fraternal Order of Alt-Knights—that boasts many prior

    and current military servicemen. The SPLC has designated it a hate group, considering its

    “Western Chauvinists” espouse violently racist, xenophobic, and sexist rhetoric, and various

    members have engaged in overt violence, such as the murder of Heather Heyer in Charlottesville.

       51.          So well-known is the racist and violent belief system of the Proud Boys that social

    media platforms such as Facebook and Twitter have banned them. Having been ostensibly forced

    off of these platforms (though many members still obfuscate their group names to avoid the notice

    of the algorithm), they now communicate primarily through apps such as Telegram.

       52.          The organization is divided into various tiers, with the SPLC noting:

           There are three degrees of membership within the Proud Boys, and to become a
           first degree in the “pro-West fraternal organization” a prospective member simply
           has to declare “I am a western chauvinist, and I refuse to apologize for creating the
           modern world.” To enter the second degree, a Proud Boy has to endure a beating
           until they can yell out the names of five breakfast cereals (in order to demonstrate
           “adrenaline control”) and give up masturbation because, in theory, it will leave
           them more inclined to go out and meet women. Those who enter the third degree
           have demonstrated their commitment by getting a Proud Boys tattoo. Any man —
           no matter his race or sexual-orientation—can join the fraternal organization as long
           as they “recognize that white men are not the problem.”6




6
    https://www.splcenter.org/fighting-hate/extremist-files/group/proud-boys



              Case 2:20-cv-01589-PP Filed 10/19/20 Page 15 of 27 Document 1
    53.        A man can become a fourth-tier member if he engages in violence against someone

believed to be part of the political far left.

    54.        Defendant McInnes himself is an outspoken Islamophobe who has contributed

articles to various alt-right websites including VDare.com, Taki’s Magazine, and American

Renaissance. Well known for his racist and misogynistic statements that he claims are “jokes” or

used for their “shock value,” he was pushed out of VICE, a media platform he co-founded. He

now owns, contributes to, and operates CENSORED.TV, a subscription-based media service

focused on espousing “Western values.” The platform hosts videos such as “10 Things I Hate

About the Goddamn Jews” and “White Noise.” It also promotes content featuring Milo

Yiannopoulos and other popular far-right figures.

    55.        Defendant McInnes uses his platform, wealth, and influence to recruit ever more

members to join his hate group. Hosting content that clearly furthers the goals of the Alt-Right

Conspiracy—with its misogyny, xenophobia, Islamophobia, and racism—encourages those who

have watched this content to join the Conspiracy, then go on to murder protestors or engage in

other acts of domestic terrorism.

    56.        Defendant Tarrio is a convicted felon and Chairman of the Proud Boys. He became

acquainted with the group through Milo Yiannopoulos in 2017, then went on to become a fourth-

degree member by engaging in violence against an ANTIFA demonstrator. He was in attendance

at the Unite the Right rally in Charlottesville, and officially became Chairman of the group on

November 29, 2018.

    57.        The Wisconsin Chapter of the Proud Boys was founded in 2017. Its current meeting

place is the Explorium Brewpub in Greendale, Wisconsin, where Defendants Eric and Brad

Doe—the Commander and Deputy Commander of the Wisconsin Chapter, respectively—meet to




          Case 2:20-cv-01589-PP Filed 10/19/20 Page 16 of 27 Document 1
    discuss their conspiratorial plans. The Wisconsin Chapter has supported the actions of Defendant

    Rittenhouse, calling him “King Kyle,” and in a tweet stated: “Meets across the state are set for

    October [2020]! We’re going to have some fun discussing our President’s upcoming orders.”7

       58.        Defendant Augustus Sol Invictus is another member of the Proud Boys. A Sergeant

    at Arms of the American Guard and second in command of the Fraternal Order of Alt-Knights,

    the military offshoot of the Proud Boys, he was a headline speaker at the Charlottesville Unite the

    Right rally. In the 2010s, he legally changed his name from Austin Gillespie to the Latin phrase

    “majestic unconquered sun.”

       59.        He has espoused public calls to violence and has been filmed killing a goat and

    drinking its blood, a stunt that he claims was a pagan ritual. He also deeply admires anti-Semitic

    writers such as the Nazi Carl Schmitt, who he stated was “one of my primary legal, political,

    intellectual, and philosophical influences,” and Nazi-sympathizer Francis Yockey, whose book

    Imperium was so beloved that Defendant Invictus named his law firm after it. He is currently

    facing criminal charges for domestic violence and firearm violations.

                      Defendants Engaged in Overt Acts in Furtherance of the
                     Violent Alt-Right Conspiracy, Causing Injury to Plaintiffs

       60.        These militia groups, which form the center of the Alt-Right Conspiracy, are

    connected by their shared beliefs in the racist, Western-centered ideology that espouses the

    superiority of white men. In support of this belief system, they have engaged in racially motivated

    violence, infiltrating the Midwest, engaging in domestic terrorism, and otherwise making it unsafe

    to travel, particularly if one is a member of a vulnerable minority group.




7
 Wisconsin Proud Boys Await Instructions From President Trump, Wisconsin 12 News, Sept. 30, 2020,
https://www.wisn.com/article/wisconsin-proud-boys-await-instructions-from-president-trump/34226780



             Case 2:20-cv-01589-PP Filed 10/19/20 Page 17 of 27 Document 1
   61.        This deprivation of the right to interstate travel has severely harmed Plaintiffs.

Fetch & More, owned and operated by Mr. Bellocchio, is engaged in the business of training

service dogs. Behaviorists travel the country, training and providing dogs to veterans in need.

Patrons of this company are often veterans, People of Color, and/or members of the LGBTQ+

community.

   62.        While Fetch & More does business all over the United States, many customers are

located in the Midwest. Moreover, the nature of the business is such that Mr. Bellocchio and

employees must travel to the customers. However, everyone is terrified to leave the house, and

with the current COVID-19 pandemic rendering it unsafe to train in small, enclosed spaces, the

business is at a standstill. Contracts have been rescinded, appointments canceled, travel plans

scrapped—all because of the violent actions of the Alt-Right Conspiracy.

                                       Injuries Suffered

   63.        Due to the actions of Defendants, Mr. Bellocchio has been deprived of his

constitutionally protected right to engage in interstate travel. He has also had his property

damaged in the form of lost business revenue and a decreased valuation of his company. The

business itself has lost many customers, both current and prospective, and the revenue they

generate. Personally, Mr. Bellocchio has suffered from extreme fear and emotional distress due

to the life-threatening danger posed to him by the members of the Alt-Right Conspiracy.

                                   CAUSES OF ACTION

                               COUNT I: 42 U.S.C. § 1985(3)

   64.        Plaintiffs incorporate by reference the averments contained in all proceeding

paragraphs.

   65.        This Count is brought by Plaintiff Bellocchio against all Defendants.




         Case 2:20-cv-01589-PP Filed 10/19/20 Page 18 of 27 Document 1
   66.         Defendants and their co-conspirators engaged in a conspiracy to deprive People of

Color, members of the LGBTQ+ community, women, and their supporters—such as Mr.

Bellocchio—of their constitutionally protected rights under the Thirteenth Amendment.

Motivated by racist, xenophobic, and misogynistic beliefs, their overt acts in furtherance of the

conspiracy deprived Mr. Bellocchio of his right to be free from violence, intimidation, and

harassment, as well as prevented him from utilizing his right of freedom to travel. See Griffin v.

Breckenridge, 403 U.S. 88, 105 (1971) (holding: “Our cases have firmly established that the right

of interstate travel is constitutionally protected, does not necessarily rest on the Fourteenth

Amendment, and is assertable against private, as well as governmental, interference”). The

Defendants also committed various torts against Plaintiff, including civil conspiracy, interference

with business contracts, and intentional infliction of emotional distress. This conspiracy resulted

in both economic and emotional injury to Mr. Bellocchio, in addition to the loss of his rights under

the Thirteenth Amendment.

   67.         As Against Defendants Mathewson and the Kenosha Guard: Mathewson founded

the Kenosha Guard and claims to be its Commander. He then created a Facebook page for the

group, which attracted many members who espoused racist rhetoric, as well as the event page that

started the deadly events of Kenosha. His discussions with the group members, his statement to

the Police Chief, as well as his use of racist dog whistles all establish he entered into an agreement

with other co-conspirators of the Kenosha Guard to engage in racially motivated violence.

   68.         The group itself is a collection of members clearly driven by racial animus, who

armed themselves with the intention of visiting violence upon peaceful protestors. Their claim

that they desired to “protect property” is belied by the violent rhetoric espoused by group members

and its affiliates on various internet forums.




         Case 2:20-cv-01589-PP Filed 10/19/20 Page 19 of 27 Document 1
       69.         As Against Defendants Balch and Rittenhouse: According to his own Facebook

    post, Defendant Balch “joined a contingent of militia . . . headed to Kenosha Wisconsin,” and

    “after infiltrating Kenosha . . . . inserted [himself] into a tactical advisement role” in the group of

    armed men that included Defendant Rittenhouse. This constituted the overt act in which he joined

    the conspiracy started by Defendant Mathewson and the Kenosha Guard.8 Additionally, both

    Defendants Balch and Rittenhouse communicated extensively during the time that led up to

    Defendant Rittenhouse shooting three people. Given Defendant Balch’s previous history

    supporting white nationalist and Nazi propaganda, his intent to engage in the racially-motivated

    deprivation of rights suffered by Plaintiff is evident.

       70.         As Against Defendants Wolverine Warriors, Boogaloo Bois, and Higgins: A group

    of Boogaloo Michigan residents created the Wolverine Warriors in an effort to foment civil war.

    Defendant Higgins, an associate of the Wolverine Warriors, engaged in overt acts with co-

    conspirators Fox, Morrison, and others to further a domestic terrorist plot to kidnap and execute

    the Michigan Governor, acts for which they are now facing federal criminal charges.

       71.         The founders of the Wolverine Warriors identified as Boogaloo Bois by wearing

    their “uniform” of a Hawaiian shirt and tactical gear. The Boogaloo Bois were also represented

    in Kenosha by other members of the group—consisting of as-yet unidentified co-conspirators—

    in addition to Balch. This group, with its history of supporting the white supremacist movement,

    was instrumental in furthering the conspiracy to injure Plaintiff.

       72.         As Against Defendants McInnes, CENSORED.TV, Tarrio, Eric & Brad Doe,

    Invictus, and the Proud Boys: The Proud Boys are listed by the SPLC as a hate group, with its



8
 Plaintiff believes further discovery will show Balch communicated specifically with Mathewson and/or other
Kenosha Guard members before arriving in Kenosha on August 25th.




             Case 2:20-cv-01589-PP Filed 10/19/20 Page 20 of 27 Document 1
    members consisting of self-identified “Western Chauvinists” who were present at the Unite the

    Right rally in Charlottesville, an event that resulted in the death of Heather Heyer. Defendant

    McInnes, the founder of this group, and Defendant Tarrio, the acting Chairman, have engaged in

    furtherance of this racially motivated conspiracy for years by promoting the group and its violent

    tactics. Additionally, as a ranking member of the Order of the Alt Knights, the military wing of

    the Proud Boys, Defendant Invictus has engaged with co-conspirators in overt acts to further the

    conspiracy to deprive Americans of their constitutionally guaranteed freedoms.

       73.        As the owner of Defendant CENSORED.TV, Defendant McInnes uses his

    platform, wealth, and influence to recruit ever more members to join his hate group, promoting

    the founding of state-specific chapters such as the one in Wisconsin. Hosting content that clearly

    furthers the goals of the Alt-Right Conspiracy—with its misogyny, xenophobia, Islamophobia, as

    well as its racism—these Defendants are responsible for the violent acts of their co-conspirators

    who have watched this content, then gone on to murder protestors or engage in other acts of

    domestic terrorism.

       74.        Defendants Eric and Brad Doe, along with as-yet unnamed co-conspirators,

    founded the Wisconsin Chapter of the Proud Boys. These men have supported Defendant

    Rittenhouse, ratifying his acts of violence by crowning him “King Kyle” and creating

    complimentary memes,9 thereby establishing that this violence is consistent with the conspiracy’s




9
 Such as the following, which depicts Defendant Rittenhouse holding a long rifle with superheroes on both sides of
him, bowing:




             Case 2:20-cv-01589-PP Filed 10/19/20 Page 21 of 27 Document 1
avowed goals. Tweets and other comments to the press have also indicated they are excitedly

awaiting orders from Trump to engage in more violence against far-left activists.

    75.        Given the above facts, the elements of 42 U.S.C. § 1985(3) are met, and Defendants

are liable to Plaintiff for the harm caused. See A Soc’y Without A Name v. Virginia, 655 F.3d 342,

346 (4th Cir. 2011) (noting that, to satisfy the elements of a § 1985(3) claim, the plaintiff must

establish: (1) a conspiracy; (2) for the purpose of depriving, either directly or indirectly, any

person or class of persons of the equal protection of the laws, or of equal privileges and immunities

under the laws; and (3) an act in furtherance of the conspiracy; (4) whereby a person is either

injured in his person or property or deprived of any right or privilege of a citizen of the United

States).

                                  COUNT II: 42 U.S.C. § 1986

    76.        Plaintiffs incorporate by reference the averments contained in all proceeding

paragraphs.

    77.        This Count is brought by Plaintiff Bellocchio against all Defendants.

    78.        As alleged in Count I, a conspiracy occurred pursuant to section 1985(3) that

resulted in injury to Plaintiff. The facts show Defendants Mathewson, the Kenosha Guard, Balch,

Boogaloo Bois, and Rittenhouse all participated actively in the conspiracy that resulted in the

death of two Kenosha protestors, and therefore had the power to prevent the violence that

occurred.

    79.        With regard to the other named Defendants, their awareness of the conspiracy is

supported by their tweets, other writings, and videos, much of it hosted on Defendant McInnes’s

CENSORED.TV platform. Instead of attempting to put out the fire, they fan the flames of violence




           Case 2:20-cv-01589-PP Filed 10/19/20 Page 22 of 27 Document 1
by actively recruiting more members by proudly supporting the Alt-Right Conspiracy in the

media, in contravention to their duties set forth in 42 U.S.C. § 1986.

   80.        With these allegations, Plaintiffs have met the elements of 42 U.S.C. § 1986, and

therefore all Defendants are liable for the harms Plaintiff suffered.

                              COUNT III: CIVIL CONSPIRACY

   81.        Plaintiffs incorporate herein the averments contained in all prior paragraphs.

   82.        This count is brought by Plaintiffs Bellocchio and Fetch & More against all

Defendants.

   83.        As previously alleged, Defendants engaged in the Alt-Right Conspiracy to commit

various unlawful acts, which are set forth in the following paragraphs.

   84.        As Against Defendants Mathewson, the Kenosha Guard, Balch, the Boogaloo Bois,

and Rittenhouse: With regard to the events of August 25, 2020, in Kenosha, many illegal acts

were perpetrated by Defendants and their co-conspirators. Pointing rifles at protestors with the

intent to intimidate constitutes harassment with a credible threat of violence, which is a

misdemeanor pursuant to Wis. Stat. § 947.013(1r)(a). These actions further violate Wisconsin’s

prohibition on disorderly conduct, as set forth in Wis. Stat. § 947.01(1). More importantly, though,

Wis. Stat. § 939.645 protects people and property from being targeted on the basis of race,

religion, sexual orientation, or national origin. Defendants and co-conspirators violated this

section when they hurled homophobic slurs, aimed military grade assault rifles at protestors, and

otherwise engaged in violence that prevented Mr. Bellocchio from safely traveling.

   85.        This is, of course, in addition to the shooting of three protestors by Defendant

Rittenhouse, who has been criminally charged for the two deaths and third severe injury.




         Case 2:20-cv-01589-PP Filed 10/19/20 Page 23 of 27 Document 1
   86.        As Against Defendants Eric & Brad Doe, the Proud Boys, McInnes, Tarrio, and

Invictus: The Wisconsin Chapter of the Proud Boys—which includes Defendants Eric and Brad

Doe—ratified Defendant Rittenhouse’s shooting of the three protestors; additionally, it is believed

they joined the other militia members in threatening Kenosha protestors and committing the

violations of Wisconsin law detailed above.

   87.        As the founder and chairman of the Proud Boys, McInnes and Tarrio, respectively,

are liable for the foreseeable acts of their co-conspirators, who committed the unlawful acts set

forth in the above paragraphs. Invictus, as a member of the militia wing of the Proud Boys, is

similarly liable, and CENSORED.TV was used to promote the conspiracy.

   88.        As Against Defendants Wolverine Warriors and Higgins: Defendant Higgins and

his co-conspirators belonging to the Wolverine Warriors (who were also members of the

Boogaloo Bois) engaged in a domestic terrorist plot, attempting to kidnap and execute the

Governor of Michigan. They are currently facing federal criminal charges for undertaking this

conspiracy.

   89.        As detailed in Count I as well as the preceding paragraphs, Defendants engaged in

overt actions to further the conspiracy to commit unlawful acts; therefore, they are liable under

the theory of civil conspiracy as set forth in Wisconsin law. See City of Milwaukee v. NL Indus.,

Inc., 278 Wis. 2d 313, 328–29 (Ct. App. 2004) (“To state a cause of action for civil conspiracy,

the complaint must allege: (1) The formation and operation of the conspiracy; (2) the wrongful

act or acts done pursuant thereto; and (3) the damage resulting from such act or acts.”).

                     COUNT IV: TORTIOUS INTERFERENCE WITH
                              BUSINESS CONTRACTS

   90.        Plaintiffs incorporate herein the averments contained in all prior paragraphs.




         Case 2:20-cv-01589-PP Filed 10/19/20 Page 24 of 27 Document 1
     91.         This count is brought by Plaintiff Bellocchio and Fetch & More against all

 Defendants.

     92.         Mr. Bellocchio and Fetch & More have many contracts with clients across the

 Midwest. However, because of the intentional acts of violence Defendants and their co-

 conspirators have visited upon this region—which was formerly known as a safe, friendly place

 for tourists and businesses alike—many clients have canceled their appointments and contracts.

     93.         Mr. Bellocchio and his employees were also forced to abandon their travel

 arrangements, and as a result, a great deal of business revenue has been lost.

     94.         This intentional interference with Plaintiffs’ business contracts, without privilege

 to do so, meets the elements of the Wisconsin claim for tortious interference with business

 contracts; therefore, Defendants are jointly and severally liable for the lost revenue that resulted

 from their actions. See Briesemeister v. Lehner, 295 Wis. 2d 429, 452 (2006) (noting the claim is

 satisfied if an actual or prospective contract existed between plaintiff and a third party, defendant

 interfered with that contract or prospective contract, the interference was intentional, it caused

 plaintiff to sustain damages, and defendant was not justified or privileged to interfere).

                   COUNT V: INTENTIONAL & NEGLIGENT INFLICTION
                              OF EMOTIONAL DISTRESS

     95.         Plaintiffs incorporate herein the averments contained in all prior paragraphs.

     96.         This count is brought by Plaintiff Bellocchio against all Defendants.10

     97.         The intentional, extreme, and outrageous conduct by Defendants caused severe

 emotional distress to Plaintiff. Suffering from intense fear, unable to exercise his right to travel



10
  Defendants are liable for torts committed by their co-conspirators that were a reasonably foreseeable result of the
conspiracy. See Edwardson v. American Family Mut. Ins. Co., 223 Wis. 2d 754, 760 (Ct. App. 1998). The violence
and threats of severe bodily harm from the actions of all co-conspirators is a reasonably foreseeable result of an
agreement to replace American diversity and democracy with a white fascist ethnostate, through violent means.



           Case 2:20-cv-01589-PP Filed 10/19/20 Page 25 of 27 Document 1
across state lines, and concerned about losing his business, Mr. Bellocchio has suffered from

extreme fear and other forms of severe emotional distress. Consequently, Defendants are liable to

Plaintiff under the theory of intentional infliction of emotional distress, as set forth in Alsteen v.

Gehl, 21 Wis. 2d 349, 360–61 (1963).

   98.         Alternatively, Defendants are liable under the theory of negligent infliction of

emotional distress. The actions detailed in this complaint were, in a very generous sense, at least

negligent. Therefore, the resulting injury suffered by Plaintiff as a result of the conduct of the

members of the Alt-Right Conspiracy satisfy each element of the claim. See Bowen v.

Lumbermens Mut. Cas. Co., 183 Wis. 2d 627, 652–53 (1994) (“the traditional elements of a tort

action in negligence—negligent conduct, causation and injury (here severe emotional distress)—

should serve as the framework for evaluating a bystander’s claim of negligent infliction of

emotional distress”).

                                     PRAYER FOR RELIEF

   Wherefore, Plaintiffs respectfully request an award of the following relief:

   99.         A declaratory judgment that the actions described herein deprived Plaintiff of his

rights and guarantees under federal and state law.

   100.        Injunctive relief enjoining Defendants from future violations of Plaintiff’s rights

guaranteed under federal and state law.

   101.        Compensatory and statutory damages at an amount to be determined at trial.

   102.        Punitive damages at an amount to be determined at trial.

   103.        Attorney fees and court costs pursuant to 42 U.S.C. § 1988, as applicable to 42

U.S.C. §§ 1985–86.

   104.        Such other relief as the Court deems just and proper.




          Case 2:20-cv-01589-PP Filed 10/19/20 Page 26 of 27 Document 1
                               Respectfully submitted,


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Case 2:20-cv-01589-PP Filed 10/19/20 Page 27 of 27 Document 1
